                     3:21-cv-03255-SEM-TSH # 1      Page 1 of 11
                                                                                           E-FILED
                                                         Thursday, 02 December, 2021 11:42:24 AM
                                                                      Clerk, U.S. District Court, ILCD


                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF ILLINOIS

KENNETH G. JACOBS,                    )
                                      )
                       Plaintiff,     )
                                      )
          vs.                         )                     Case No: 3:21-cv-3255
                                      )
BNSF RAILWAY COMPANY,                 )
JEFFREY WETTA, AND TOM ONDRIEZEK, )
                                      )                     JURY TRIAL DEMANDED
                                      )
                       Defendants.    )
                                      )
Serve:    C T CORPORATION SYSTEM )
          208 SO LASALLE ST, SUITE 814)
          CHICAGO, IL 60604           )
                                      )
                                      )
Serve:    Mr. Jeffrey Wetta           )
          BNSF Railway Company        )
                   th
          201 N 7 Street              )
          Lincoln, NE 68508           )
                                      )
Serve:    Mr. Tom Ondrienzek          )
          BNSF Railway Company        )
          3500 Wellington Ave.        )
          St. Louis, MO 63139         )
                                      )

                                      COMPLAINT

                               COUNT I
              FEDERAL EMPLOYERS’ LIABILITY ACT- NEGLIGENCE

      COMES NOW the Plaintiff, KENNETH G. JACOBS (hereinafter referred to as

“Plaintiff”), by and through his attorneys, Kujawski & Associates, LLC, and for his

Complaint against the Defendant, BNSF RAILWAY COMPANY (hereinafter referred to

as “Defendant Railroad”), states as follows:




                                 Case No: 3:21-cv-3255
                                     Page 1 of 11
                        3:21-cv-03255-SEM-TSH # 1        Page 2 of 11




       1.      That the jurisdiction of this Court is based upon an Act of Congress of the

United States, being the Federal Employers' Liability Act, 45 U.S.C.A., Sections 51 et.

seq., as hereinafter more fully shown.

       2.      That at all times mentioned herein, the Defendant Railroad was and is a

corporation controlled, operated and maintained in interstate commerce, engaged in

transporting interstate commerce between various states by rail including the states of

Illinois, Missouri and Iowa.

       3.      That on or about March 8, 2020, or on a date known more certainly to the

Defendant Railroad, and at all times mentioned herein, Plaintiff was an employee of the

Defendant Railroad and had been for several years prior thereto.

       4.      That at all times mentioned herein, Plaintiff was a resident of Pittsfield,

Illinois, within the Central District of Illinois.

       5.      That at all times mentioned herein, all or part of the duties of Plaintiff as

such an employee furthered interstate commerce conducted by the Defendant Railroad

or in some way directly or substantially affected said commerce.

       6.      That on or about the above-said date, and at all times relevant herein,

Plaintiff was employed by the Defendant Railroad as an Engineer and as such, was in

the performance of his duties in Keokuk, Iowa.

       7.      That at all times mentioned herein, Plaintiff was acting within the scope

and course of his employment with the Defendant Railroad.

       8.      That on or about March 8, 2020, Plaintiff was working as an Engineer on a

train at or near Keokuk, Iowa heading to West Quincy, Missouri.




                                      Case No: 3:21-cv-3255
                                          Page 2 of 11
                       3:21-cv-03255-SEM-TSH # 1         Page 3 of 11




       9.     The train Plaintiff was working on had authority from the Defendant

Railroad to occupy the mainline track on which it was operating on.

       10.    That unbeknownst to the Plaintiff, another crew of BNSF employees

shoved a train and/or a cut of cars onto the mainline track in front of the train on which

the Plaintiff was operating.

       11.    That the BNSF employees who shoved the train and/or cut of cars onto

the mainline did not have authority to put those railcars on the mainline.

       12.    That the tracks in which Plaintiff was operating his train was a dark

territory which had no signals to indicate that the track ahead of Plaintiff's train had been

fouled and/or occupied by a train and/or a cut of railcars.

       13.    That the train Plaintiff was operating came around a curve on the mainline

and the Plaintiff saw the cars on the mainline and attempted to stop his train.

       14.    Plaintiff could not stop his train before the locomotive he was operating

struck the cars that were occupying the mainline causing certain railcars and a

locomotive to derail as a result of the collision.

       15.    That the collision was violent, and the Plaintiff was thrown about the inside

of the cab of the locomotive he was operating during this collision and derailment.

       16.    That with regard to the collision and derailment, Plaintiff was in

compliance with all of the Defendant Railroad's rules related to the operation of his train.

       17.    That with regard to the collision and derailment, Plaintiff was in

compliance with all the relevant Federal Railroad Administration Regulations related to

the operation of his train.




                                   Case No: 3:21-cv-3255
                                       Page 3 of 11
                      3:21-cv-03255-SEM-TSH # 1       Page 4 of 11




       18.    That there was nothing the Plaintiff could have done to prevent the

collision and derailment between the train he was operating and the train and/or cut of

cars that have been that had been shoved onto the mainline.

       19.    That with regard to the collision and derailment, Plaintiff used ordinary

care at the time of this occurrence.

       20.    That one or more of the employees of the Defendant Railroad who shoved

the train and/or cut of cars onto the mainline violated one or more of the Federal

Railroad Administration's Regulations.

       21.    That one or more of the employees of the Defendant Railroad who shoved

the train and/or cut of cars onto the mainline violated one or more of the Defendant’s

safety and operating rules.

       22.    That after determining that one or more of the crew members involved in

shoving the train and/or cut of cars onto the mainline failed to comply with pertinent

Federal Railroad Administration Regulations which caused the collision and derailment,

the Defendant Railroad decertified or suspended the engineer and/or conductor’s

license of one or more of the members of the crew who shoved the train and/or cut of

cars onto the mainline.

       23.    That the Defendant Railroad held a formal investigation into the collision

and derailment, at which time it took testimony and admitted exhibits. At the end of this

formal investigation, the Defendant Railroad through its management employees

determined that members of the crew who shoved the train and/or railcars onto the

mainline had violated the Defendant Railroad's rules and those violations lead to the

collision and derailment.

                                 Case No: 3:21-cv-3255
                                     Page 4 of 11
                      3:21-cv-03255-SEM-TSH # 1         Page 5 of 11




       24.    That the Defendant Railroad employees which shoved the train and/or cut

of cars on the mainline did so past a control point which violated Federal Railroad

Administration Regulations.

       25.    That the Defendant Railroad employees which shoved the train and/or cut

of cars on the mainline did so past a control point which violated Defendant Railroad's

safety and operating rules.

       26.    That the locomotive Plaintiff was operating was equipped with an outward

video camera which would show Plaintiff’s locomotive approaching the railcars on the

mainline, the collision, and the resulting damage from the collision.

       27.    That as a result of the Defendant Railroad's employees shoving a train

and/or cut of cars onto the mainline ahead of the train Plaintiff was operating caused the

Plaintiff to sustain injuries and damages.

       28.    That at said time and place, the Defendant Railroad, by and through its

agents, servants, and employees, negligently and carelessly committed one or more of

the following acts or omissions, to wit:

              a)     Failed to provide reasonably safe conditions for work;

              b)     Failed to provide reasonably safe methods of work;

              c)     Failed to furnish Plaintiff with a reasonably safe place in which to
                     work;

              d)     Allowed unsafe practices to become the standard practice;

              e)     Failed to provide derails or other similar devices to keep from being
                     shoved onto the unsignalized main line track;

              f)     Failed to provide adequate training to its employees;




                                  Case No: 3:21-cv-3255
                                      Page 5 of 11
                      3:21-cv-03255-SEM-TSH # 1         Page 6 of 11




              g)     Defendant’s employees shoved a cut of cars onto the main line
                     track;
              h)     Failed to warn Plaintiff that the track was blocked;

              i)     Defendant’s employees failed to follow its General Code of
                     Operating Rules, Timetables and Safety Rules;

              j)     Failed to follow Federal Railroad Administration regulations;

              k)     Defendant’s employees failed to control the movement of the train;

              l)     Defendant followed neither industry nor its own standards regarding
                     its failure to install derails to protect the main line track;

              m)     Defendant failed to comply with 49 C.F.R. 218.35, 221.13-14,
                     240.305(a)(1) & (4); and

              n)     Defendant’s conduct in violation of safety statutes or regulations
                     was and is negligence per se and prevents the application of
                     comparative fault under the FELA 45 U.S.C. 53, 54 and 54(a).

       29.    As a result, in whole or in part, one or more of the above fore going acts of

negligence or admissions on the part of the BNSF Railway Company, the Plaintiff, while

in the performance of his duties as a locomotive engineer, and in connection with and in

the scope and course of his employment, was caused to become severely injured when

train he was operating collided and derailed with a train or cut of cars that the Defendant

Railroad had shoved onto the mainline, causing Plaintiff to sustain severe and

permanent injuries to wit: injuries to the muscles, tendons, ligaments, nerves, soft

tissues, vertebrae, joints; and injuries to his spine; emotional distress; and posttraumatic

stress disorder; that Plaintiff has sustained pain and suffering in the past, and is

reasonably certain to experience pain and suffering in the future as a result of said

injury; the Plaintiff has incurred permanent disfigurement and disability resulting from

said injuries; that Plaintiff has incurred a past and future permanent loss of earning



                                 Case No: 3:21-cv-3255
                                     Page 6 of 11
                      3:21-cv-03255-SEM-TSH # 1        Page 7 of 11




capacity; that Plaintiff has become obligated in the past for medical expenses resulting

from his injuries, and will be obligated in the future to expend large sums of money for

necessary medical care, treatment and services; all to the Plaintiff's damages.

       WHEREFORE, the Plaintiff, Kenneth G. Jacobs, prays judgment against the

Defendant, BNSF Railway Company, in an amount in excess of seventy-five thousand

dollars ($75,000.00) to fairly and reasonably compensate him for damages sustained

herein, plus costs of the suit, prejudgment interest, post judgment interest, and all other

relief deemed appropriate by this Court.

                        PLAINTIFF DEMANDS TRIAL BY JURY

                             COUNT II
 THE FEDERAL RAIL SAFETY ACT – 49 UNITED STATES CODE SECTION 20109

       1.     The Plaintiff, Kenneth G. Jacobs, brings this action against Defendants,

BNSF Railway Company, Jeffrey Wetta, and Tom Ondrienzek, both individually and

severally, for violations of the Federal Rail Safety Act, 49 U.S.C. Section 20109.

       2.     This Court has subject matter jurisdiction in this case pursuant to the

Federal Railroad Safety Act, (hereinafter “FRSA”) 49 U.S.C. Section 20109(d)(3).

       3.     The Complainant’s FRSA Complaint was filed more than 210 days ago,

and as of this date the Secretary of Labor has not issued a final decision.

       4.     That Plaintiff, Kenneth G. Jacobs, a resident of Pittsfield, Illinois, was

employed by the BNSF Railway Company as a locomotive engineer from January 31,

2011 until April 16, 2021.

       5.     That all times mentioned herein, Defendant, BNSF Railway Company,

(hereinafter referred to as “BNSF”), was and is a corporation controlled, operated, and



                                 Case No: 3:21-cv-3255
                                     Page 7 of 11
                     3:21-cv-03255-SEM-TSH # 1         Page 8 of 11




maintained in interstate commerce and in transporting interstate commerce between

various states including Illinois and Iowa, within the meaning of 49 U.S.C. 20109.

      6.     That at all times mentioned herein, Defendant, Jeffrey Wetta, was an

employee and supervisory personnel of BNSF, and at all times mentioned herein was

within the meaning and definitions of 49 U.S.C. 20109.

      7.     That at all times mentioned herein, Defendant, Tom Ondrienzek, was an

employee and supervisory personnel of BNSF, and at all times mentioned herein was

within the meaning and definitions of 49 U.S.C. 20109.

      8.     That at all times relevant herein, BNSF owns, operates and maintains

track and rail yards throughout the aforementioned states including the State of Iowa

and the City of Keokuk.

      9.     That Plaintiff, by means of this document has filed a formal FRSA

Complaint with the Secretary of Labor’s OSHA Whistleblower Office. The filing of the

Complaint was within 180 days from the date BNSF took adverse and/or unfavorable

personal action against him.

      10.    That on or about March 8, 2020, Plaintiff was working for BNSF as a

locomotive engineer on a train operating on a mainline near Keokuk, Iowa.

      11.    That at said time and place, other employees of BNSF's shoved a train

and/or cut of cars onto the mainline ahead of the train Plaintiff was operating at or near

Keokuk, Iowa.

      12.    The Plaintiff, as he rounded a curve, saw the train and/or cut of cars on

the mainline ahead of him and attempted to stop his train. Plaintiff was unsuccessful in

stopping his train before the collision and derailment occurred, which was caused by

                                 Case No: 3:21-cv-3255
                                     Page 8 of 11
                       3:21-cv-03255-SEM-TSH # 1         Page 9 of 11




employees of the Defendant shoving the train and/or rail cars onto the mainline ahead

of Plaintiff.

        13.     That as a result of said collision and derailment, Plaintiff sustained severe

and permanent injuries.

        14.     After March 8, 2020, Plaintiff began to treat with medical practitioners in

an attempt to treat his injuries.

        15.     That the Defendant requested updated medical information from the

Plaintiff after the collision and derailment on March 8, 2020.

        16.     Plaintiff provided the requested medical information to BNSF and

remained off work through November 16, 2020.

        17.     That on November 16, 2020, Plaintiff saw one of his treating physicians,

Dr. Matthew Gornet, who provided the Plaintiff with a work status report indicating he

could only perform light duty, only lift 20 pounds, and could not operate a train. This

report was provided to the Defendant, BNSF.

        18.     That on February 5, 2021, Jeffrey Wetta, a Director of Administration for

BNSF, sent a Notice of a Formal Investigation to the Plaintiff alleging he was

indifference to duty and he was on extended unauthorized absence from work

beginning on November 18, 2020. The Notice of Investigation Letter is attached as

Exhibit 1.

        19.     That on March 24, 20 21, Plaintiff attended an investigation Hearing at the

West Quincy Depot Conference Room in Taylor, Missouri, which was conducted by

Tom Ondrienzek, the Superintendent of Operations for BNSF. See Transcript Hearing.

attached is Exhibit 2.

                                    Case No: 3:21-cv-3255
                                        Page 9 of 11
                     3:21-cv-03255-SEM-TSH # 1         Page 10 of 11




      20.    During the aforementioned Hearing, Plaintiff testified that the Defendant

received Dr. Matthew Gornet work status report, which indicated the Plaintiff's

restrictions which were light duty, no lifting greater than 20 pounds, no overhead work

and may not drive a train and a note that Plaintiff's next appointment with Dr. Gornet is

set for May 17, 2021. See pages 40 – 41 of the Transcript Hearing Exhibit 2 and Exhibit

EE1 and EE2 to the Transcript Hearing. Also attached are Exhibits EE1a and EE2a

which are more legible copies of Exhibit EE1 and EE2.

      21.    That on April 16, 2021, Plaintiff received a letter from Superintendent of

Operations, Tom Ondrienzek, indicating that he was dismissed from all service with

BNSF. See April 16, 2021, Dismissal Letter attached as Exhibit 3.

      22.    This letter indicates that Plaintiff was fired for following the orders and

treatment plan of his treating physician, which is a violation of the Federal Railroad

Safety Act. Specifically, 49 U.S.C. 20109 (c)(2), which indicates that a rail carrier may

not discipline an employee for following orders or a treatment plan of a treating

physician.

      23.    Defendants individually and severally, should be subject to punitive

damages under 49 U.S.C. 20109 to deter them from continuing to engage in the

outrageous practice of retaliation against employees, and disciplining employees who

engage in protected activity as set forth in 49 U.S.C. 20109.

      24.    Plaintiff Jacobs requests that he be awarded compensatory damages in

an amount no less than $4,830,000.00; plus attorney's fees; litigation costs; and Plaintiff

further request punitive damages in the amount of $250,000.00 to be assessed against

each Defendant, both individually and severally, for their conduct in knowingly charging

                                 Case No: 3:21-cv-3255
                                    Page 10 of 11
                     3:21-cv-03255-SEM-TSH # 1         Page 11 of 11




and firing Plaintiff Jacobs, for following the orders and treatment plan of his treating

physician.

       WHEREFORE, Plaintiff, Kenneth G. Jacobs, in order to encourage employees to

freely report all injuries and safety complaints without fear of retaliation, thereby

ensuring the Federal Railroad Administration has the necessary information to develop

and administer an effective rail safety regulatory program that promotes safety in every

area of the nation’s railroad operations, Plaintiff, Kenneth G. Jacobs, prays for judgment

in his favor, and against the Defendants, BNSF Railway Company, Jeffrey Wetta, and

Tom Ondrienzek, both individually and severally, for all necessary relief to make Plaintiff

whole, including expungement of all references of adverse actions in Plaintiff’s

personnel file; all available compensatory damages; the statutory maximum of punitive

damages per Defendant; litigation costs and expenses; attorneys fees; all damages as

authorized by Section 20109; and all other relief this Court deems just and proper.

                                          Respectfully submitted,

                                          KUJAWSKI & ASSOCIATES, LLC


                                   By:    s/ John P. Kujawski
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                                 Case No: 3:21-cv-3255
                                    Page 11 of 11
